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IN THE UNITED STATES DISTRICT COURT
FOR THE
WESTERN DISTRIC'I` OF TENNESSEE

Case# §§ §~» 2038§/

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.1 erry Stokes

LAW OFFICE OF JERRY STOKES
100 N. Main St.

Ste. 2601

1\/1emphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

